         Case 1:19-cv-10023-KPF Document 211 Filed 08/12/20 Page 1 of 1
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The Honorable Katherine Polk Failla                             Houston         Silicon Valley
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Thurgood Marshall United States Courthouse
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New York, New York 10007                                        Milan




        Re:    Petróleos de Venezuela, S.A., et al. v. MUFG Union Bank, et al., 1:19-cv-10023

Dear Judge Failla:

        On July 3, 2020, Defendants in the above-captioned matter requested the temporary sealing
of a single document (filed multiple times) due to the inadvertent disclosure of information
contained therein. See ECF Nos. 112, 113, 114, 115, 116, 121, 122. Defendants now respectfully
request that the Court (i) order the ECF Clerk to permanently seal the unredacted versions of this
document filed at ECF Nos. 112, 113, 114, 115, 116, 121, and 122, and (ii) accept and deem filed
the identical version of that document with minimal redactions applied, attached as Exhibit 1. The
reasons for this request are set forth in Defendants’ in camera submissions to the Court, expressly
incorporated by reference herein, which have already been accepted by the Court in its July 30,
2020 Order. ECF. No. 207.

                                                     Respectfully Submitted,


                                                     /s/ Christopher J. Clark
                                                     Christopher J. Clark
                                                     of LATHAM & WATKINS LLP




Encl.

cc:     All Counsel of Record via ECF
